     Case: 20-3396                  Document: 00713737175            Filed: 12/22/2020           Pages: 1   (1 of 3)



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                   Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                         Phone: (312) 435-5850
             Chicago, Illinois 60604                                               www.ca7.uscourts.gov




 December 21, 2020

By the Court:


                                         WILLIAM FEEHAN,
                                         Plaintiff - Appellant

 Nos. 20-3396 & 20-3448                  v.

                                         WISCONSIN ELECTIONS COMMISSION, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:20-cv-01771-PP
 Eastern District of Wisconsin
 District Judge Pamela Pepper


Upon consideration of the PLAINTIFF-APPELLANT’S MOTION TO VOLUNTARILY
DISMISS APPEAL CASE NO. 20-3396 AND APPLY FILING FEES PAID IN THAT CASE TO
DUPLICATE CASE NO. 20-3448, filed on December 21, 2020, by counsel for the appellant,

IT IS ORDERED that appeal no. 20-3396 is voluntarily DISMISSED pursuant to Federal Rule
of Appellate Procedure 42(b). Dismissal is without prejudice to appellant pursuing his claims in
appeal no. 20-3448.

IT IS FURTHER ORDERED that no costs shall be assessed for the dismissed appeal no.
20-3396. The filing fee paid in appeal no. 20-3396 shall be applied to appeal no. 20-3448.




 form name: c7_FinalOrderWMandate(form ID: 137)




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      Case: 20-3396                 Document: 00713737176                  Filed: 12/22/2020         Pages: 2   (2 of 3)



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



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                                         NOTICE OF ISSUANCE OF MANDATE
 December 21, 2020


To:            Gina M. Colletti
               UNITED STATES DISTRICT COURT
               Eastern District of Wisconsin
               Milwaukee , WI 53202-0000



                                         WILLIAM FEEHAN,
                                         Plaintiff - Appellant

 No. 20-3396                             v.

                                         WISCONSIN ELECTIONS COMMISSION, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:20-cv-01771-PP
 Eastern District of Wisconsin
 District Judge Pamela Pepper
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  TYPE OF DISMISSAL:                                             F.R.A.P. 42(b)



  STATUS OF THE RECORD:                                          no record to be returned




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   Case: 20-3396          Document: 00713737176                  Filed: 12/22/2020         Pages: 2     (3 of 3)



NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


     12/22/2020                                              /s/ L. M. Forseth
 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)




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